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                             UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF LOUISIANA
   IN RE:                                               §
                                                        §     CASE NO. 18-13335
   EUGENE BARON SCHWING JR                              §
        DEBTOR                                          §
                                                        §

                                  NOTICE OF ADDRESS CHANGE

   A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). PLEASE TAKE
   NOTICE that the notice address and payment address for the below mentioned Creditor has changed. Please update
   the case and claims register with the new information outlined below.


     Citigroup Mortgage Loan Trust, Inc.
    2006-HE3, Asset-Backed Pass-Through
    Certificates Series 2006-HE3, U.S. Bank
       National Association, as Trustee
     c/o Specialized Loan Servicing, LLC                                    xxxx7297
                  Creditor Name                                      Last Four Digits of Acct.#


   Prior Name and Address where notices should be              Prior Name and Address where payments should be
   sent:                                                       sent:
   Specialized Loan Servicing LLC                              Specialized Loan Servicing LLC
   8742 Lucent Blvd, Suite 300                                 PO Box 636007
   Highlands Ranch, CO 80129                                   Littleton, CO 80163
   Phone: (800) 315-4757

   Current Name and Address where notices should              Current Name and Address where payments should
   be sent:                                                   be sent:
   Specialized Loan Servicing LLC                             Specialized Loan Servicing LLC
   6200 S. Quebec Street                                      6200 S. Quebec Street
   Greenwood Village, CO 80111                                Greenwood Village, CO 80111

   Phone: (800) 315-4757


     Dated: 10/13/2020
                                                             Respectfully submitted,
                                                             Bonial & Associates, P.C.

                                                             /s/ Natalie Lea
                                                             Natalie Lea
                                                             14841 Dallas Parkway, Suite 300
                                                             Dallas, Texas 75254
                                                             (972) 643-6600
                                                             (972) 643-6698 (Telecopier)
                                                             E-mail: POCInquiries@BonialPC.com
                                                             Authorized Agent for Creditor




                                                                                                   4129-N-6652
